                           Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 1 of 54 Page ID #:1



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                                 A Professional Law Corporation
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                                 Los Angeles, California 90045
                             6   Telephone: 310.981.2000
                                 Facsimile: 310.337.0837
                             7
                                 Attorneys for Defendant COUNTY OF LOS ANGELES
                             8
                             9                              UNITED STATES DISTRICT COURT
                            10                            CENTRAL DISTRICT OF CALIFORNIA
                            11   BRYAN HUNT, individually, and                Case No.:
                                 on behalf of all others similarly
                            12   situated,                                    Complaint Filed: June 18, 2021
                            13                           Plaintiff,
                                                                              NOTICE OF REMOVAL OF ACTION
                            14            v.                                  UNDER 28 U.S.C. 1441(A) (FEDERAL
                                                                              QUESTION)
LIEBERT CASSIDY WHITMORE




                            15   CITY OF LOS ANGELES, a
                                 municipal entity; COUNTY OF
                            16   LOS ANGELES, a public entity;
                                 DOES 1 through 100, inclusive,
                            17
                                                         Defendant.
                            18
                            19            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                            20            PLEASE TAKE NOTICE that Defendant COUNTY OF LOS ANGELES
                            21   ("Defendant") hereby removes to this Court the state court action described below.
                            22            1.       On June 18, 2021, Bryan Hunt, individually, and on behalf of all
                            23   others similarly situated (collectively "Plaintiffs") filed a Complaint ("Complaint")
                            24   for damages with the Superior Court of the State of California in and for the County
                            25   of Los Angeles entitled Bryan Hunt v. County of Los Angeles, et al., Case Number
                            26   21 STCV 23052, a copy of which is attached hereto as Exhibit "A."
                            27            2.       Defendant was served with a copy of the Complaint on July 1, 2021
                            28   which set forth the following four causes of action:
                                                                           1
                                           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 144(b) (FEDERAL QUESTION)
                                 9731105.3 LO140-620                                                           53
                                                                                                                1
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  1            1.       Violations of the Private Attorneys Gene; Act ("PAGA") California
      Labor Code § 2698 et seq.;
  3            2.       Unfair Business Practices (California Bus. & Prof. Code §§ 17200, et
  4   seq.);
  5            3.       Failure to Pay Minimum Wages in Violation of Fair Labor and
  6   Standards Act ("FLSA") 29 U.S.C. § 206(a);
  7            4.       Failure to Pay Overtime Wages In Violation of FLSA 29 U.S.C. §§
  8   207and 216.
  9            5.       A true and correct copy of all other pleadings filed in the State Court
 10   in this matter is attached hereto as Exhibit "B."
 11            6.       This action is removable to the District Court under 28 U.S.C.
 12   §1441(a) because two of the causes of action pled in the Complaint based on
 13   violations of the FLSA arise under the laws of the United States, to which this
 14   Court has original jurisdiction under 28 U.S.C. § 1331. The remaining two state
 15   claims are based on the same nucleus of operative facts as the two causes of action
 16   made under the laws of the United States, to which this Court has supplemental
 17   jurisdiction under 28 U.S.C. § 1367.
 18            7.       This NOTICE OF REMOVAL OF ACTION is filed with the District
 19   Court within thirty (30) days after receipt by Defendant of the Complaint, that for
 20   the first time set forth the claims for relief upon which removal of this action or
 21   proceeding could be based in accordance with 28 U.S.C. section 1446(b). See 28
 22   U.S.C. § 1446(b)(3) ("...if the case stated by the initial pleading is not removable, a
 23   notice of removal may be filed within thirty days after receipt by the defendant,
 24   through service or otherwise, of a copy of an amended pleading, motion, order or
 25   other paper from which it may first be ascertained that the case is one which is or
 26   has become removable.")
 27            8.       Defendant is providing prompt notice to all adverse parties of the filing
 28   of this NOTICE OF REMOVAL and will file a copy of the NOTICE with the Clerk
                                        2
                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 144(b) (FEDERAL QUESTION)
      9731105.3 LO140-620                                                              54
                                                                                        2
Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 3 of 54 Page ID #:3



  1   of the Los Angeles County Superior Court.
  2            9.       For all these reasons, the above-described action now pending in the
  3   Superior Court of the State of California for the County of Los Angeles should be
  4   removed to this District in accordance with the provisions of 28 U.S.C. §§ 1331,
  5   1367(a), 1441, and 1446(a) and (b).
  6            10.      Defendant is unaware if purported Co-Defendant City of Los Angeles
  7   has been served. The proof of service filed by Plaintiff in the Superior Court only
  8   reflects service on Defendant and not the City of Los Angeles (see Proof of Service
  9   attached in Exhibit "B"). In any event, Plaintiff Bryan Hunt and the putative
 10   plaintiffs he alleges are similarly situated to him were employed by the County of
 11   Los Angeles, not the City of Los Angeles.
 12
      Dated: July 27, 2021                              LIEBERT CASSIDY WHITMORE
 13
 14
 15
                                                 By:
 16                                                               re      held
                                                                abeth T. Arce
 17                                                         Jeffery E. Stockley
                                                            Attorneys for Defendant
 18                                                         COUNTY OF LOS ANGELES
 19
 20
 21
 22

 23
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                                                    3
                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 144(b) (FEDERAL QUESTION)
      9731105.3 LO140-620                                                           55
                                                                                     3
Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 4 of 54 Page ID #:4




    EXHIBIT A




                                                                         56
                                                                          4
            Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 5 of 54 Page ID #:5

                                                                                                                   OR.GINAL
                                                                                                                                                                           SUM-100
                                                                        SUMMONS                     BY FAX                                           FOR COURT USE ONLY
                                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                                                 (CITACION JUDICIAL)
                                                                                                                                                         FILED
      NOTICE TO DEFENDANT:                                                                                                                    Superior Court of California
                                                                                                                                                County of Los Angeles
      (AVISO AL DEMANDADO):
      CITY OF LOS ANGELES, a municipal entity; COUNTY OF LOS ANGELES, a public entity; DOES
      1 through 100, inclusive                                                                                                                       JUN 18 2021
      YOU ARE BEING SUED BY PLAINTIFF:                                                                                                 herri R             xe.       Officer/Clerk of Co irt
      (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                              By
      BRYAN HUNT, individually, and on behalf of all others similarly situated
                                                                                                                                                                                  Deputy
                                                                                                                                                    Kristina   var

      NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
      court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
      be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
      (vvww.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      ,AViSO! Lo han demanded°. Si no responde dentro de 30 dlas, la corte puede decidir en su contra sin escuchar su version. Lea la informaci0n a
      continuation.
         Tiene 30 DIAS DE CALENDARIO despues de que le entreguen este citation y papeles legales para presentar una respuesta por escrito en esta
      code y hacer que se entregue una copia a! demandante. Una carta o una Ilamada telef0nica no to protegen. Su respuesta por escnto tiene que estar
      en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la code y mas information en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
      biblioteca de leyes de su condado o en la corte que le quede ales cerca. Si no puede pagar la cuota de presentation, pida al secretario de la code que
      le de un formulario de exenci6n de page de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
      guitar su sueldo, dinero y bienes sin mas advertencia.
         Hay otros requisitos legates. Es recomendable que blame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio do
      remisi0n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legates gratuitos de un
      programa de servicios legales sin fines de lucre. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
      (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
      colegio de abogados locales. AVISO: Par ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
      cualquier recuperation de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi0n de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la code antes de que /a code pueda desechar el caso.
      The name and address of the court is:
      (El nombre y direction de la corte es):                                                                                   ZISTCV2515t)
      Los Angeles County Superior Court
      111 North Hill Street, Los Angeles, CA 90012
      The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direction y el numero
      de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
      Charles M. Ray, Esq: 17671 Irvine Blvd. Ste 208, Tustin, CA 92780; 949-734-7333

                       JUN 1 8 2021
      DATE:
      Fech                                                                         Clerk, y                                                                                , De•uty
                a)                                                                 (Secre                                                                                     djunto)
cr.
      (For proof of service of this summons, t§tigM      fil
                                                             a
                                                                 UT Jummons (form POS-01
                                                                                              RTER
      (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).

                      ....,,,,,,,,,,,,,
                                                                   NOTICE TO THE PERSON SERVED: You are served
       [SEAL]
              ---\ TORN,,,
                     ....  c',.„.                                  1.         as an individual defendant.
            -- .                                                   2.         as the person sued under the fictitious name of (specify):

      : c:c                                             , C .:     3.   7 - 1 on behalf of (specify):
                          /          AcAr tei•
      : 4 "                                                             under:        CCP 416.10 (corporation)                             CCP 416.60 (minor)
                                                                                      CCP 416.20 (defunct corporation)                     CCP 416.70 (conservatee)
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          :42
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                            ...1........... ... :21:'      I
                                                                                      CCP 416.40 (association or partnership)              CCP 416.90 (authorized person)
                                                                                     other (specify):
                       ,,,,,,,,,,,,, •-•
                                                                   4.         by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
      Form Adopted for Mandatory Use
      Judicial Council of California
                                                                                                 SUMMONS                                             Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                         www.courts.ca.gov
      SUM-100 (Rev. July 1, 2009)

      For your protection and privacy, please press the Clear
      This Form button after you have printed the form.                                      Print this form      Save this form                               rWrin
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                                                          ORibINAL
 1   RAY & SEYB, LLP
                                                                               FILED
                                                                      Superior Court of California
     CHARLES M. RAY, SBN 282440                                         County of Los Angeles
 2   SPENCER SEYB, ESQ. SBN 282501
 3
     17671 Irvine Blvd Suite 208
     Tustin, CA 92780
                                                                            JUN 18 2021
     Telephone: 949-274-7535                                     Sherri R        ze. fi : Officer/Clerk of Court
 4   Facsimile: 949-274-8151                                     By                                   Deputy
     c.ray@rayseyb.com                                                      Kristina Var
 5
     Attorneys for Plaintiffs
 6

 7                            SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 8                                      COUNTY OF LOS ANGELES
 9
     BRYAN HUNT, individually, and on behalf         Case No.:21STCV2301i2
10   of all others similarly situated,               [Before the Hon.
11
                Plaintiffs,                          UNLIMITED JURISDICTION
13
     VS.                                             CLASS ACTION - COMPLAINT FOR
14                                                   DAMAGES, PENALTIES, ATTORNEYS'                                W
     CITY OF LOS ANGELES, a municipal                FEES AND DEMAND FOR JURY TRIAL.
15
     entity; COUNTY OF LOS ANGELES, a
16   public entity; DOES 1 through 100, inclusive,   1.   Violations of the Private Attorneys Gene;
                                                          Act ("PAGA") Labor Code § 2698 et seq
17              Defendants.
                                                     2.   Unfair Business Practices (Bus. & Prof_
18                                                        Code §§ 17200, et seq.);

19                                                   3.   Failure to Pay Minimum Wages in
                                                          Violation of FLSA 29 U.S.C. § 206(a);
20
                                                     4.   Failure to Pay Overtime Wages In Violation
21                                                        of FLSA 29 U.S.C. §§ 207and 216.

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                                                 1
                                      COMPLAINT FOR DAMAGES


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 1                                           I. INTRODUCTION

 2          Defendants the CITY OF LOS ANGELES and the COUNTY OF LOS ANGELES owe Plaintiffs

 3   BRYAN HUNT, and members of the Plaintiff Class, monies for violations of California Labor Code,

 4   respecting their employment with Defendants CITY OF LOS ANGELES and THE COUNTY OF LOS

 5   ANGELES FIRE DEPARTMENT.

 6          In this action, Plaintiffs seek to recover damages on behalf of themselves and similarly situated

 7   professional fire personnel, who are employed by Defendants the CITY OF LOS ANGELES and the

 8   COUNTY OF LOS ANGELES, for violations of the California wage and hour law, arising from

 9   Defendants' unlawful conduct, including: the failure to pay wages, overtime compensation, and reporting

10   time pay; the failure to reimburse employees for all necessary expenses and fosses incurred in connection

11   with their employment; the failure to furnish accurate wage statements and keep accurate payroll records;

13   and other legal obligations.

14                                            II. THE PARTIES
15   1.     Plaintiff, BRYAN HUNT, is an individual, was at all times relevant to these claims a resident of

16          the State of California, County of Los Angeles. Plaintiff, BRYAN HUNT brings this action, on

17          behalf of himself, and all others similarly situated, as a class action pursuant to California Code of

18          Civil Procedure § 382. Such a representative action is necessary to recover monies owed by

19          Defendants to Plaintiffs for Defendants' violation of California Labor Code.

20   2.     The CITY OF LOS ANGELES is a municipality, responsible for the safety and welfare of

21          residents and/or visitors of Los Angeles. The CITY OF LOS ANGELES, as a public entity
22          violated laws within the State of California and the County of Los Angeles with an address of 500

23          West Temple St. Room 383 Kenneth Hahn Hall of Administration, Los Angeles, CA 90012.
24   3.     COUNTY OF LOS ANGELES is a public entity responsible for the safety and welfare of residents

25          and/or visitors of County of Los Angeles and maintains the LOS ANGELES COUNTY FIRE

26          DEPARTMENT. The COUNTY OF LOS ANGELES, as a public entity violated laws within the

27          State of California in the County of Los Angeles. The LOS ANGELES COUNTY FIRE

28          DEPARTMENT is a public agency responsible for protecting the public and providing emergency

                                                    2
                                         COMPLAINT FOR DAMAGES


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      1•        assistance to residents and/or visitors of Los Angeles and is responsible for the issues raised by this

      2         lawsuit with an address of 1320 N Eastern Ave, Los Angeles, CA 90063.

     3     4.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

      4         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT individually, and as is ignorant of

      5         the true names and capacity of Defendants sued herein as DOES 1 - 50 inclusive, and therefore

      6         sues these Defendants by such fictitious names. Plaintiffs will amend this Complaint to allege their

      7         true names and capacities when ascertained.

      8    5.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

      9         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT is informed and believes and based

     10         thereon alleges that each fictitiously named Defendant is responsible in some manner for the

     11         injuries to Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees

     13         of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT as alleged herein, and that

     14         such alleged injuries were proximately caused by each fictitiously named Defendants.

     15    6.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

     16         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT is informed and believes, and
a
     17         thereon alleges, that at all times material herein the Defendants, and each of them, were the agents,
ex
     18         servants, or employees, or ostensible agents, servants, and employees of each other Defendant, and

     19         as such, were acting within the course and scope of said agency and employment or ostensible

     20         agency and employment, except on those occasions when Defendants were acting as principals, in
     21         which case, said Defendants, and each of them, were negligent in the selection, hiring, and use of
     22         the other Defendants.

     23    7.   Whenever in this Complaint an act or omission of a corporation or business entity is alleged, said

     24         allegation shall be deemed to mean and include an allegation that the corporation or business entity
     25         acted or omitted to act through its authorized officers, directors, agents, servants, and/or

     26         employees, acting within the course and scope of their duties, that the act or omission was

     27         authorized by corporate managerial officers or directors, and that the act or omission was ratified

     28         by the officers and directors of the corporation.

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                                             COMPLAINT FOR DAMAGES


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                             III. AGENCY AND CONCERT OF ACTION

 2   8.    Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

 3         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT is informed and believes, and                         •

4          thereon alleges, that at all times material herein the Defendants, and each of them, were the agents,

 5         servants, or employees, or ostensible agents, servants, and employees of each other Defendant, and .

6          as such, were acting within the course and scope of said agency and employment or ostensible

 7         agency and employment, except on those occasions when Defendants were acting as principals, in

8          which case, said Defendants, and each of them, were negligent in the selection, hiring, and use of

 9         the other Defendants. At all times mentioned herein, each of the Defendants was the co-tortfeas•or

10         of each of the other Defendants in doing the things hereinafter alleged.

11   9.    Plaintiffs are further informed and believe that at all relevant times hereto, Defendants, and each of

13         them, acted in concert in furtherance of the interests of each other Defendant. The conduct of each

14         Defendant combined and cooperated with the conduct of each of the remaining Defendants so as to

15         cause the herein described incidents and resulting injuries and damages to Plaintiffs.
16                               IV. CLASS ACTION ALLEGATIONS

17   10.   Plaintiff BRYAN HUNT, individually, brings claims for violations of California Labor Code, on

18         behalf of himself and on behalf of the Plaintiff Class pursuant to California Code of Civil

19         Procedure § 382. Such a representative action is necessary to recover monies owed by Defendants

20         to Plaintiffs for Defendants' violation of California Labor Code. The class, which Plaintiffs seek to

21         represent, is composed of and defined as follows:
22         A.     All persons who are, or were, sworn Fire Personnel in the LOS ANGELES COUNTY

23                FIRE DEPARTMENT.

24         B.     All pertons who are, or were, sworn Fire Personnel in the LOS ANGELES COUNTY
25                FIRE DEPARTMENT during the period of which the violations as alleged herein occurred.

26   11.   Excluded from the proposed class are Defendants, any entities in which any of the Defendants

27         have a controlling interest, and the Fire Personnel -in the LOS ANGELES COUNTY FIRE

28         DEPARTMENT, directors, affiliates, attorneys, heirs, predecessors and successors in interest,

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                                       COMPLAINT FOR DAMAGES


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 1          subsidiaries, employees, agents and/or assigns of any of the Defendants.

 2    12.   Pursuant to the provisions of California Code of Civil Procedure § 382 because there is a well-

 3          defined community of interest in the litigation and the proposed class is easily ascertainable:

 4.         A.         Numerosity: The Plaintiff CLASS ("Plaintiff CLASS") is so numerous that the individual

 5                     joinder of all members is impracticable under the circumstances of this case. While the

                       exact number of class members is unknown to Plaintiffs at this time and can only be

 7                     ascertained through discovery, Plaintiffs believe that there are at least 200 total members of

 8                     the proposed class of Los Angeles County Fire Personnel, such that the Joinder of all

 9                     members of the plaintiff class is not practicable.

10          B.         Common Questions Predominate: Common questions of law and fact exist as to all

11                     members of the Plaintiff CLASS and predominate over any questions that affect only

13                     individual members of the class.

14                i.          These common questions of fact include, without limitation as to others, pertain to

15.                           all persons who are, or were, sworn Fire Personnel in the LOS ANGELES

16                            COUNTY FIRE DEPARTMENT during the period of which the violations as
17                            alleged herein occurred who were lodged, during the duration of their quarantine.

18                                a.      Required to stay at the hotels 6.5 days a week due to an incident;

19                                        and, because it was an incident, portal to portal application
20                                        engages;
21                                b.      Even if members are 207K qualifying, the additional hours unpaid
22                                        are not covered (207K are Qualifying personnel that can work up

23                                        to 53 hours per week, or up to 212 hours in a 28-day work period,
24                                        before overtime is required).
25                                c.      They were paid 40 hours a week, with no over time.
26               ii.          Common questions of law without limitation as to others, pertain to all persons who
27                            are, or were, sworn Fire Personnel in the LOS ANGELES COUNTY FIRE
28                            DEPARTMENT during the period of which the violations as alleged herein

                                                       5
                                            COMPLAINT FOR DAMAGES


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 1                    occurred who were lodged, during the duration of their quarantine, as follows:

 2                    a.     Violations of the Private Attorneys General Act ("PAGA") Labor Code §

 3                           2698 et seq.

 4                    b.     Failure to Pay Overtime Compensation — Labor Code §§ 510 and 1194.

 5                    c.     Failure to Allow and Pay For Meal And Rest Periods (Lab. Code §§ 226.7,

 6                           512).

 7                    d.     Failure to Provide Accurate Itemized Wage Statements — California Labor

 8                           Code §§ 226 and 226.3.

 9                    e.     Failure to Keep Required Records (Lab. Code § 1174).

10                    f.     Unfair Business Practices (Bus. & Prof. Code §§ 17200, et seq.).
11       C.   Typicality: There is a well-defined community of interest among the members of the

13            proposed class. Named Plaintiffs, like all other members of the class, relied upon the law of

14            the State of California respecting the labor force, and appropriate compensation with

15            respect to employees. The factual bases of Defendants' misconduct are common to all

16            members of the class and represent a common practice of wrongful conduct potentially

17            resulting in damages to all members of the class. Named Plaintiffs' claims are typical of the

18            claims of the members of the Plaintiff class. Plaintiffs and all members of the Plaintiff class
19            sustained injuries and damages arising out of the common course of conduct of Defendants,
20            and each of them, in violation of law as complained of herein. The injuries and damages of

21            each member of the Plaintiff class were caused directly by Defendants' wrongful conduct
22            in violation of law as alleged herein.

23       D.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the members of the
24            Plaintiff class. Plaintiffs have retained counsel who has substantial experience and success
25            in the prosecution of complex class actions. Plaintiffs and their counsel are committed to

              vigorously prosecuting this action on behalf of the class and have the financial resources
2';           necessary to do so. Neither Plaintiffs nor their counsel have.any interest adverse to those of

2S            the class.

                                                6
                                     COMPLAINT FOR DAMAGES


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        1         E.     Superiority of Class Action: A class action is superior to other available means for the fair

        2                and efficient adjudication of this controversy since individual joinder of all members of the

        3                class is impracticable. Class action treatment will permit a large number of similarly

        4                situated persons to prosecute their common claims in a single forum simultaneously,

        5                efficiently, and without the unnecessary duplication of effort and expense that numerous

       6                 individual actions would engender. Furthermore, as the damages suffered by each

        7                individual member of the class may be relatively small, the expenses and burden of

       8                 individual litigation would make it difficult or impossible for individual members of the

        9                class to redress the wrongs done to them, while an important public interest, confirmation

       10                of a right protected by the California Constitution as described hereinabove, will be served

       11                by addressing the matter as a class action. The cost to the court system of adjudication of

       13                such individualized litigation would be substantial. Individualized litigation would also

       14                present the potential for inconsistent or contradictory judgments and would magnify the

       15                delay and expense to all parties and the court system in multiple trials of identical factual

                         issues. By contrast, the conduct of this action as a class action presents fewer management

                         difficulties, conserves the resources of the parties and the court system and protects the
                         rights of each class member.

       19   13.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

       20         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT is unaware of any difficulties likely

       21         to be encountered in management of this action that would preclude its maintenance as a class
       22         action pursuant to California Code of Civil Procedure § 382.

       23   14.   As a direct, foreseeable, and proximate result of Defendants' conduct, Plaintiff BRYAN HUNT,
IN.)

       24         individually, and as representative of the Class of employees of the Defendant LOS ANGELES
       25         COUNTY FIRE DEPARTMENT are owed minimum wage and liquidated damages, overtime

       26         compensation, reporting time pay, reimbursement of business expenses, compensation for missed

       27         meal periods, waiting time penalties, statutory interest and other penalties under California law.
       28   15.   The precise amount of these damages will be proved at trial.

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       1    16.   An award of attorney fees to Plaintiffs, if successful against Defendants, is appropriate under

       2          California Code of Civil Procedure § 1021.5 for this action, which if successful will result in the

       3          enforcement of an important right affecting the public interest, and (a) a significant benefit,

       4          whether pecuniary or non-pecuniary, will be conferred on the Fire Fighters of Los Angeles with

       5          respect to the appropriate compensation pursuant to California Labor Code; (b) the necessity and

       6          financial burden of private enforcement will be such as to make the award appropriate; and (c)

       7          such fees should not in the interest of justice be paid out of the recovery, if any.

       8                                    V. JURISDICTION AND VENUE

       9    17.   Plaintiff BRYAN HUNT has complied with and exhausted any applicable claims statutes and/or

      10          administrative and/or internal remedies and/or grievance procedures. Plaintiff has complied with

      11          the claim presentation requirement of California Government Code sections 945.4 and 912.4.

      13.         Plaintiff filed a government claim with the City of Los Angeles on or about September 27, 2016,

      14          which was denied by inaction on or about January 26, 2021.

      15    18.   In addition to these administrative procedures, Plaintiff BRYAN HUNT also recognized Cal. Gov.

      16          Code § 905 which states as follows regarding required notices as they apply to wage claims for

      17          public employees:

      18          905. There shall be presented in accordance with Chapter 1 (commencing with Section 900) and

      19          Chapter 2 (commencing with Section 910) all claims for money or damages against local public
      20          entities except any of the following:

      21                 (c) Claims by public employees for fees, salaries, wages, mileage, or other expenses and
      22                 allowances.
or)   23    19.   Plaintiff BRYAN HUNT informed Defendants of this provision and still received a second denial
                  notice regarding the same on February 18, 2021.
            20.   The Court has jurisdiction over all causes of action asserted against The COUNTY OF LOS
      26          ANGELES and.the LOS ANGELES COUNTY FIRE DEPARTMENT as all claims arose in the

      27          COUNTY OF LOS ANGELES and involve governmental entities operating in the COUNTY OF
      28          LOS ANGELES. The amount exceeds $25,000. Further, Plaintiffs seek attorney's fees under


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                                               COMPLAINT FOR DAMAGES


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 1         California Code of Civil Procedure § 1021.5(a) as this is an action that qualifies as a Private

 2         Attorney General action in light of the fact that Defendants, notified by Plaintiffs' counsel of their

 3         violations of California Labor Code, .and ignored inquiries from Plaintiffs.

 4   21.   Venue is proper in this Court as each Defendant is proper in this judicial district pursuant to

 5         California Code of Civil Procedure § 394(a) in that this action is against the CITY OF LOS

 6         ANGELES and COUNTY OF LOS ANGELES, a County in California with common bounds, may

 7         be tried in the county in which the city is situated. The acts complained of herein occurred in the

 8         County of Los Angeles.

 9                                   VI. FACTUAL BACKGROUND

10   22.   Violations of California Labor Code occurred from March of 2020 through May 2020, with a loss

11         in pay. Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of

13         the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT, first became aware of these

14         violations, in or about, the first week July of 2020 after consulting with other firefighters similarly

15         situated and hearing additional statement from management.

16   23.   From March to May 2020, Plaintiff BRYAN HUNT, individually, and as representative of the

17         Class of employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT, were

18         required to physically stay on site at the hotel where Plaintiff BRYAN HUNT, individually, and as

19         representative of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE

20         DEPARTMENT were required to lodge, during the duration of their quarantine. During this time,

21         Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

22         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT received compensation for an 8-

23         hour shift of employment, only.
24   24.   Beginning in March of 2020, Plaintiff BRYAN HUNT, individually, and as representative of the
25         Class of employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were

26         required to stay in hotels at the direction of senior staff and management due to the COVID-19
27         pandemic. In doing so, claimant and others similarly situated were always under the control of
28         Defendants and were to conduct themselves in accordance with the directives and limitations of

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                                        COMPLAINT FOR DAMAGES


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 1         what they could or could not do or go.

 2   25    Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

 3         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT, abided by these directives as it was

4          presented and given to be as conditions of their employment.

 5   26.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

6          Defendant LOS ANGELES COUNTY FIRE DEPARTMENT are informed and believe, and

 7         thereon allege that management staff for those overseeing himself and others similarly situated

8          mace the decision to not compensate Plaintiff BRYAN HUNT, individually, and as representative

 9         of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT for

10         all hours worked.

11   27.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

13         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were required to abide by the

14         directives of management in that they were required to stay at a hotel for six out of the seven days

15         in a week. During those six days, Plaintiff BRYAN HUNT, individually, and as representative of

           the Class of employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were

           required to stay in their rooms or required to perform certain tasks, in certain ways at all times. In
           short, Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of

           the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT assented to the control of

20         management, they did so for the primary benefit of management and in doing so were under the

21         control of management.
22   28.   From the moment Plaintiff BRYAN HUNT, individually, and as representative of the Class of

23         employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT reported to the
24         required academy training, every aspect of their lives was controlled and managed by Defendants

25         for :he period of time noted as Sunday at approximate 6 pm to dismissal on the following Saturday

26         at approximately 5 pm. For this time period attendance was integral, indispensable and required by

27         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT in order to complete the required
28         academy training.

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      1   29.   While in attendance for the required time as noted in paragraph 28, Plaintiff BRYAN HUNT,

      2         individually, and as representative of the Class of employees of the Defendant LOS ANGELES

      3         COUNTY FIRE DEPARTMENT were engaged to be confined and sequestered which eliminated

      4         their ability to enjoy personal pursuits due to the level of control by Defendants over every aspect

      5         of their lives. The amount of freedom was practically nonexistent for Plaintiff BRYAN HUNT,

      6         individually, and as representative of the Class of employees of the Defendant LOS ANGELES

      7         COUNTY FIRE DEPARTMENT because their options when not on academy grounds and at their

      8         hotel were limited to sequestration to their rooms or to the hallways on their floor to study with no

      9         exceptions and not by choice of the Plaintiffs. This level of control was for the primary benefit of

     10         Defendants due to the COVID-19 pandemic: Defendant LOS ANGELES COUNTY FIRE

     11         DEPARTMENT made the choice to quarantine Plaintiff BRYAN HUNT, individually, and as

     13         representative of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE
     14         DEPARTMENT for the primary benefit to avoid infection of COVID-19 and allow for those

     15         passing the academy to be assigned to stations in county post-graduation.

          30.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

                Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were not paid for all hours to which

                they were under the assent, benefit and control of management — in turn the LA County Fire

     19         Department.

     20   31.   After quarantine was completed, and in July 2020, Plaintiff BRYAN HUNT, individually, and as

     21         representative of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE
     22         DEPARTMENT first became aware that management staff were being paid for 24-hour shifts
     23         while Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of
     24         the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were not.

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     25   32.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

     26         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT were paid for approximately eight
     27         (8) hours a day during this time-period despite being required to abide by directives from senior
     28         staff and management for all hours of the day, i.e., twenty-four (24) hours. This directive came in

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 1         conjunction with the requirement Plaintiff BRYAN HUNT, individually, and as representative of

 2         the Class of employees of the Defendants were required to stay at a hotel in quarantine, at the

 3         direction of Defendants as a condition of their employment, not being fairly, or adequately

 4         compensated, while management staff were being compensated for 24-hour shifts. Plaintiff

 5         BRYAN HUNT, individually, and as representative of the Class of employees of the Defendant

 6         LOS ANGELES COUNTY FIRE DEPARTMENT were not compensated for the remaining

 7         sixteen (16) hours a day they were required.to abide by Respondents' directives and orders as a

 8         condition of their employment, as management staff was compensated.

 9   33.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

10         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT was part of Class, No. 156 and

11         spent 46 days in quarantine. Based upon information and belief, the persons affected by this

13         quarantine directive, affected, but certainly not limited to, Classes No.153 — through No. 160. The

14         total due to each class member, is depended on each unpaid worker's rate of pay, at the time of the

15         quarantine.

16   34.   Later, in response to submission of his grievance for lack wages unpaid and related claims,

17         Plaintiff BRYAN HUNT was contacted by union representatives who, after being informed of the

18         situation and claims, declined to take further action.

19   35.   Fin'ally, on MarCh 3, 2021, Plaintiff BRYAN HUNT mailed a notice of claims pursuant to the

20         Private Attorney General's Act, or PAGA, to Defendant LOS ANGELES COUNTY FIRE

21         DEPARTMENT.
22                                  VII. FIRST CAUSE OF ACTION
23           Violations of the Private Attorneys General Act ("PAGA") (Lab. C. § 2698 et seq.)
24                                   (By Plaintiffs, as against all Defendants)
25   36.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

26         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT incorporates by this reference each
27         and every allegation contained in paragraphs 1 through 35, of this Complaint as though fully set

28         forth herein and alleges this First Cause of Action for Violations of the Private Attorneys General


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       1         Act ("PAGA"); California Labor Code § 2698, et. seq.

       2   37.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

       3         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT is an "aggrieved employee" under

       4         PAGA, as he was employed by Defendant the City and County of Los Angeles during the

       5         applicable statutory period and suffered one or more of the Labor Code violations set forth herein.

       6   38.   Plaintiffs seek civil penalties pursuant to PAGA for violations by Defendant City of Labor Code §

       7         1102.5 as set forth in this Complaint. Labor Code § 1102.5 is a specifically enumerated provision

       8         contained within Labor Code § 2699.5 that permits the recovery of PAGA penalties.

       9   39.   Pursuant to California Labor Code § 2699, Plaintiff should be awarded twenty-five percent (25%)

      10         of all penalties due under California law, as well as attorneys' fees and costs.

      11   40.   The precise amount of these damages will be proved at trial.

      13                               VIII. SECOND CAUSE OF ACTION

      14                      Unfair Business Practices (Bus. & Prof. Code §§ 17200, et seq.)

      15                                   (By Plaintiffs, as against all Defendants)

      16   41.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

      17         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT incorporates by this reference each

      18         and every allegation contained in paragraphs 1 through 40, of this Complaint as though fully set

      19         forth herein and alleges this Second Cause of Action for Unfair Business Practices.

      20   42.   California Business & Professions Code § 17200 provides in pertinent part that "unfair

      21         competition shall mean and include any unlawful, unfair or fraudulent business act...." In
      22         particular, Defendants, and each of them committed the following acts:

      23         A.     failing to pay Plaintiff BRYAN HUNT, individually, and as representative of the Class of
      24                employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT wages for
qr?   25                all hours worked, as required by Labor Code §§ 1182.12, 1194 et seq., 1197 et seq.
      26         B.     failing to pay Plaintiff BRYAN HUNT, individually, and as representative of the Class of
      27                employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT overtime
      28                compensation for all hours worked over eight (8) in a day or forty (40) in a workweek, as

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 1                required by Labor Code §§ 510, 1194 et seq.

 2         C.     failing and refusing to provide meal periods and break periods to Plaintiff BRYAN HUNT,

 3                individually, and as representative of the Class of employees of the Defendant LOS

 4                ANGELES COUNTY FIRE DEPARTMENT as required by Labor Code §§ 226.7.

 5         D.     failing to provide accurate itemized wage statements to Plaintiff BRYAN HUNT,

 6                individually, and as representative of the Class of employees of the Defendant LOS

 7                ANGELES COUNTY FIRE DEPARTMENT as required by Labor Code § 226.

 8         E.     failing to maintain payroll records showing the actual hours worked each day by Plaintiff

 9                BRYAN HUNT, individually, and as representative of the Class of employees of the

10              • Defendant LOS ANGELES COUNTY FIRE DEPARTMENT as require by Labor Code §

11                1174 et seq.

13   43.   California Business & Professions Code § 17205 provides that unless otherwise expressly

14         provided, the remedies or penalties provided for unfair competition "are cumulative to each other

15         and to the remedies or penalties available under all other laws of this state."

16   44.   California Business & Professions Code § 17204 provides that an action for any relief from unfair

17         competition may be prosecuted by any person who has suffered injury in fact and has lost money

18         or property as a result of such unfair competition.

19   45.   Defendants, and each of them, have engaged in unlawful, unfair and fraudulent business acts or

20         practices prohibited by California Business & Profession Code § 17200, including those set forth

21         in the preceding and foregoing paragraphs of the Complaint, thereby depriving PLAINTIFF of the
22         minimum working standards and conditions due to him under California labor laws, as specifically

23         described herein.

24   46.   Defendants, and each of them, have engaged in unfair business practices in California by

25         practicing, employing and utilizing the employment practices described in more detail herein.

26   47.   Defendants, and each of their use of such practices constitutes an unfair business practice, unfair

27         competition and provides an unfair advantage over other municipalities and public entities within
28         the State of California.

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 1   48.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

 2         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT seek full restitution from

 3         Defendants, and each of them, as necessary and according to proof, to restore any and all monies

 4         withheld, acquired and/or converted by Defendants, and each of them, by means of the unfair

 5         practices complained of herein, including, but not limited to all unpaid wages, minimum wage,

 6         overtime pay, missed meal period compensation, missed rest period compensation and reporting

 7         time compensation.

 8   49.   Further, if Defendants, and each of them, are not enjoined from the conduct set forth above,

 9         Defendants, and each of them, will continue to practice, employ and utilize the employment

10         practices outlined in the preceding paragraphs. Therefore, Plaintiff BRYAN HUNT, individually,

11         and as representative of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE

13         DEPARTMENT requests that the Court issue a preliminary and permanent injunction prohibiting

14         Defendants, and each of them, from engaging in the conduct complained of herein.

15   50.   Defendants' conduct in directly violating the above-mentioned state laws, constitutes and was

16         intended to constitute unfair competition, unfair compensation, and unlawful and unfair acts and
17         practices within the meaning of the Unfair Competition Law.

18   51.   Through Defendants' wrongful and unlawful acts, they have acted contrary to the public policy of

19         this State.

20   52.   As a result of their unlawful, unfair, and/or fraudulent acts, Defendants, and each of them, have

21         reaped and continue to reap unfair benefits and illegal profits at the expense of Plaintiff BRYAN
22         HUNT, individually, and as representative of the Class of employees of the Defendant LOS

23         ANGELES COUNTY FIRE DEPARTMENT.
24   53.   Therefore, under the provisions of the Unfair Competition Law and the Labor Code, Defendants,

25         and each of them, should be enjoined from this activity and should provide restitution to Plaintiff

26         BRYAN HUNT, individually, and as representative of the Class of employees of the Defendant

27         LOS ANGELES COUNTY FIRE DEPARTMENT wrongfully withheld wages and other benefits

28         pursuant to Business and Professions Code § 17203, and/or specific remedies available under §

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 1         17202, in a sum according to proof for the 4-year period preceding the filing of the complaint up to

 2         and including the present. Accordingly, Plaintiff BRYAN HUNT, individually, and as

 3         representative of the Class of employees of the Defendant LOS ANGELES COUNTY FIRE

 4         DEPARTMENT respectfully request that the Court award judgment and relief in her favor as

 5         described herein.

 6                                  IX. THIRD CAUSE OF ACTION

 7                                        FAILURE TO PAY WAGES

 8                             Fair Labor Standards Act, 29 U.S.C. §201, et seq.

 9                                  (By Plaintiffs, as against all Defendants)

10   54.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

11         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT incorporates by this reference each

13         and every allegation contained in paragraphs 1 through 53, of this Complaint as though fully set

14         forth herein and alleges this Third Cause of Action for Failure to Pay Wages.

15   55.   This cause of action is brought pursuant to 29 U.S.C. § 206, which provides that employees are

16         entitled to minimum wages and compensation for work performed. At all relevant times as set

17         forth herein, Plaintiffs and the Class members, as defined above, were entitled to receive minimum

18         wages for all hours worked. 29 U.S.C. § 206(a) provides in pertinent part: Every employer shall

19         pay to each of his employees who in any workweek is engaged in commerce or in the production

20         of goods for commerce, or is employed in an enterprise engaged in commerce or in the production

21         of goods for commerce, wages.
22   56.   At all times relevant herein, Defendant was required to compensate Plaintiffs and Plaintiff Class

23         for all hours worked. Defendants were aware of such non-payment of wages.

24   57.   Pursuant to the FLSA, 29 U.S.C. § 216(b), Plaintiffs and Plaintiff Class members are entitled to

25         recover the full amount of unpaid minimum wages as well as liquidated damages equal to the

26         amount of unpaid compensation, interest, costs, and attorney's fees.

27   58.   At all relevant times Defendant acted directly or indirectly in the interest of an employer in relation
28         to Plaintiffs and Class members. Defendant was an "employer" of Plaintiffs and Class members as


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 1         "employer" is defined under 29 U.S.C. § 203. Defendant exercised meaningful control over the

 2         work of Plaintiffs and Class members.

 3   59.   Defendant, by failing to pay the discharged Plaintiffs and Class members minimum wages due and

 4         owed to them, have violated 29 U.S.C., § 206.

 5   60.   Plaintiffs are informed and believe and based thereon allege that Defendants' willful failure to

 6         always pay a minimum wage herein mentioned was, in violation of 29 U.S.C. § 206. Defendants'

 7         employment policies and practices wrongfully and illegally failed to compensate Plaintiffs and

 8         Plaintiff Class for minimum wages earned as required by federal law.

 9   61.   The. conduct of Defendant and its agents and employees as described herein was willful,

10         oppressive, fraudulent and malicious, done in conscious disregard of Plaintiffs and Plaintiff Class

11         Members' rights, and done by managerial employees of Defendant.

13   62.   Such a practice and uniform administration of a failure to pay a minimum wage resulting in an

14         illegal employee compensation as described herein is unlawful and creates an entitlement to

15         recovery by Plaintiffs in a civil action, for the unpaid balance of the full amount of wages owed,

16         including interest thereon, penalties, reasonable attorney's fees, and costs of suit.

17   63.   As a result of the unlawful acts of the Defendant, Plaintiffs and Class members have been deprived

18         of compensation in amounts not yet fully ascertained, but to be determined at trial, and are entitled

19         to recovery of such amounts, liquidated damages, and/or pre-judgment interest, attorney's fees and

20         costs, and other compensation allowable under 29 U.S.C. § 216(b).

21                                  X. FOURTH CAUSE OF ACTION
22                                 FAILURE TO PAY OVERTIME WAGES

23                           Fair Labor Standards Act, 29 U.S.C. §§ 207 AND 216.

24                                   (By Plaintiffs, as against all Defendants)

25   64.   Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the
26         Defendant LOS ANGELES COUNTY FIRE DEPARTMENT incorporates by this reference each

27         and every allegation contained in paragraphs 1 through 63, of this Complaint as though fully set

28         forth herein and alleges this Fourth Cause of Action for Failure to Pay Overtime Wages.

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           1   65.   The FLSA (29 U.S.C., Section 207) requires an employer to pay employees the federally mandated

           2         overtime premium rate of one and a half times their regular rate of pay for every hour worked in

           3         excess of forty (40) hours per work week.

           4   66.   Plaintiffs are informed and believe and based thereon allege that Plaintiffs, and members of Class

           5         were not exempt from overtime pay in that they were classified as nonexempt by Defendant and

           6         were not exempt from overtime pay by any exception under Federal law.

           7   67.   Plaintiffs, and members of Class worked more than 40 hours per week, without being paid the

           8         proper overtime pay as required by the FLSA.

           9   68.   By the conduct described above, Defendant has failed to pay Plaintiffs and members of Class

          10         overtime compensation as required by Federal Law 29 U.S.C., Section 216 which states, "Any

          11         employer who violates the provisions of Section 206 or 207 of this Title shall be liable to the

          13         employee or employees affected in the amount of their unpaid minimum wages, or their unpaid

          14         overtime compensation, and in an additional equal amount as liquidated damages."

          15   69.   Defendants' conduct in failing to pay overtime compensation as hereinabove alleged was willful,

          16         in that Defendants knew that their conduct violated the FLSA or showed reckless disregard as to

          17         whether its conduct violated the FLSA.
               70.   By reason of the above, Plaintiffs and members of Class demand additional compensation for all
      Iii 18
          19         hours worked overtime in this matter until the date of entry of judgment at .1 '/2 times their regular

          20         rate of pay, plus an equal amount for liquidated damages pursuant to 29 U.S.C. 216, plus interest

          21         thereon, plus reasonable attorney's fees and costs.

          22                                    XII. PRAYER FOR RELIEF
Cr?       23         WHEREFORE, Plaintiff BRYAN HUNT, individually, and as representative of the Class of

          24   employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT, prays for relief as

qiP       25   follows, jointly and severally from all Defendants CITY OF LOS ANGELES, a municipal entity;

          26   COUNTY OF LOS ANGELES, a public entity; DOES 1 through 100, inclusive, as follows:

          27   1.    That the Court determine that this action may be maintained as a class action under California

          28         Code of Civil Procedure § 382, and define the Class as requested herein.

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 1   2.      Provision of class notice to all members of the CLASS.

2    3.      A declaratory judgment that Defendants have knowingly and intentionally violated the following

 3           provisions of law: Business & Professions Code §§ 17200 et seq. by failing to pay proper

4            minimum wage, overtime compensation, and reporting time pay under California law; provide

 5           meal periods; provide rest periods; by failing to provide itemized statements showing all hours

6            worked and failing to keep accurate payroll records.

 7   4.      A declaratory judgment that Defendants' violations described above were willful.

 8   5.      An equitable accounting to identify, locate, and restore to Plaintiffs and the CLASS the wages due.

 9   6.      An award to Plaintiff BRYAN HUNT, individually, and as representative of the Class of

10           employees of the Defendant LOS ANGELES COUNTY FIRE DEPARTMENT and the CLASS in

11           the amount of unpaid wages and liquidated damages ,thereon, overtime compensation, reporting

13           time pay, missed meal period compensation, missed break period compensation, including interest

14           thereon, subject to proof at trial.

15   7.      An order requiring Defendants to pay restitution of all amounts owed to Plaintiff BRYAN HUNT,

16           individually, and as representative of the Class of employees of the Defendant LOS ANGELES

17           COUNTY FIRE DEPARTMENT and the CLASS for Defendants' failure to pay all wages,

18           overtime compensation, reporting time pay, missed meal periods, missed rest periods pursuant to

19           California Business & Professions Code § 17203.

20   8.      An award of reasonable attorneys' fees and costs, pursuant to Labor Code §§ 226 and 1194, Code

21           of Civil Procedure § 1021.5 and/or other applicable law and Private Attorneys General Act,

22           California Labor Code §§ 558, 2698- 2699.5 and the Fair Labor Standards Act.

23   9.      Any, and other further relief as this Court deems just and proper.

24                                       VII.      DEMAND FOR JURY TRIAL

25           Plaintiff BRYAN HUNT, individually, and as representative of the Class of employees of the

26   Defendant LOS ANGELES COUNTY FIRE DEPARTMENT and the CLASS hereby demand a trial by

27   jury.

28   ///


                                                     19
                                           COMPLAINT FOR DAMAGES


                                                                                                        76
                                                                                                        24
Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 25 of 54 Page ID #:25

                                       ,




 1    Respectfully submitted,              DATED: June 16, 2021

 2                                         RAY & SEYB LLP

 3                                         By:

 4                                         Attorney for Plaintiff

 5                                         Bryan Hunt anc those similarly situated.

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                                COMPLAINT FOR DAMAGES


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     Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 26 of 54 Page ID #:26

                                                                                                    Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                       FILED
 Spring Street Courthouse                                                                          superior Court of California
                                                                                                     County of Los Angaies
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                         06/1,8/2021
                   NOTICE OF CASE ASSIGNMENT                                               'te7ri R. Ca1r, LAentrire O4';ce- .* Certo:0 Cast
                                                                                                             K Vargas                 I.)soL4
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21STCV23052

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT      ROOM                    ASSIGNED JUDGE                         DEPT             ROOM
    V    Elihu M. Berle                    6




    Given to the Plaintiff/Cross-Complainant/Attomey of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 06/22/2021                                                         By K. Vargas                                            , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                                                                                         78
                                                                                                                                         26
     Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 27 of 54 Page ID #:27

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                                                                                                               27
  Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 28 of 54 Page ID #:28
                                                                                                                      "41ii I & I       A      I                    CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, —...... ....ar number, and address):
RAY & SEYB LLP                                                                                       UN            %iTIMALP                            NLY

Charles M. Ray SBN 282440
17671 Irvine Blvd., Ste 208, Tustin, CA 92780
                                                                                                                                       FILED
            TELEPHONE NO.:   949-734-7333                        FAX NO. (Optional):   C.ray@rayseyb                     Superior Court of California
     ATTORNEY FOR (Name):    Plaintiff BRYAN HUNT                                                                          County of Los Angeles
SUPERIOR COURT OF CALIFORNIA:COUNTY OF LOS ANGELES
 STREET ADDRESS:     111 North Hill Street                                                                                         JUN 18 2021
 MAILING ADDRESS:
                                                                                                                   Sherri R               xe II Officer/Clerk of Court
CITY AND ZIP CODE:
      BRANCH NAME:   Central District - Stanley Mosk Courthouse                                                     BY                                             Deputy
                                                                                                                                  Kristina Var
CASE NAME:
 HUNT vs. CITY OF LOS ANGELES, et. al.

       CIVIL CASE COVER SHEET                                      Complex Case Designation                      CASE NUMBER:
                                                                                                                                                                      -
  x    Unlimited
        (Amount
                     0   Limited
                                         (Amount
                                                                        Counter           0        Joinder
                                                              Filed with first appearance by defendant
                                                                                                  JUDGE:
                                                                                                                21STCV23052.
        demanded                         demanded is
                                                                  (Cal. Rules of Court, rule 3.402)DEPT.:
        exceeds $25,000)                 $25,000)
                                          Items 1-6 below must be completed (see instructions on page 2).
       Check one box below for the case type that best describes this case:
      Auto Tort                                   Contract                                                    Provisionally Complex Civil Litigation
            Auto (22)                                                 Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
            Uninsured motorist (46)                                   Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                        Other collections (09)                        Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                   Mass tort (40)
                                                                      Insurance coverage (18)
              Asbestos (04)                                                                                         Securities litigation (28)
                                                                    Other contract (37)
              Product liability (24)                                                                                Environmental/Toxic tort (30)
                                                              Real Property
              Medical malpractice (45)                                                                              Insurance coverage claims arising from the
                                                            Eminent domain/Inverse
                                                                                                                    above listed provisionally complex case
           Other PI/PD/WD (23)                              condemnation (14)
                                                                                                                    types (41)
      Non-PUPD/WD (Other) Tort                              Wrongful eviction (33)                            Enforcement of Judgment
           Business tort/unfair business practice (07)      Other real property (26)                                Enforcement of judgment (20)
           Civil rights (08)                           Unlawful Detainer
                                                                                                              Miscellaneous Civil Complaint
              Defamation (13)                                         Commercial (31)
                                                                                                                    RICO (27) .
              Fraud (16)                                              Residential (32)
                                                                                                                    Other complaint (not specified above) (42)
              Intellectual property (19)                      El    Drugs (38)
                                                                                                              Miscellaneous Civil Petition
              Professional negligence (25)                    Judicial Review
                                                                                                                    Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)                               Asset forfeiture (05)
      Employment                                                      Petition re: arbitration award (11)     ET    Other petition (not specified above) (43)

              Wrongful termination (36)                               Writ of mandate (02)
        x     Other employment (15)                                   Other judicial review (39)
2.     This case I       is       x is not complex under rule 3.400 of the                      California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.        Large number of separately represented parties       d. FT                      Large number of witnesses
      b.        Extensive motion practice raising difficult or novel e.                         Coordination with related actions pending in one or more
                issues that will be time-consuming to resolve                                   courts in other counties, states, or countries, or in a federal
      c. 0        Substantial amount of documentary evidence                                    court
                                                                  f.                            Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. x monetary b. x                                 nonmonetary; declaratory or injunctive relief c. x punitive
4. Number of causes of action (specify): Four
5. This case I x     is         is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: June 16, 2021
Charles M. Ray, Esq.
                             (TYPE OR PRINT NAME)
                                                                                                                         CAdAia,t,
                                                                                                                    (SIGNATURE OF PARTY OR ATTORNEY               R PARTY)
                                                                                  NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                    Page 1 of 2
Form Adopted for Mandatory Use                                                                                         Cal. Rules of Court, rules 2.30. 3.220. 3.400-3.403, 3.740;
Judicial Council of California                                   CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1, 2007]
                                                                                                                                                                    80
                                                                                                                                                                    28
                                                                                                                                                                www.courts.ca.gov
  Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 29 of 54 Page ID #:29

                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-01 0
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in whict
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property             Breach of ContractANarranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach—Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PUPD/WD (Personal Injury/                            Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
      Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case-Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
           Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PUPD/WD (Other) Tort                              foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tortInon-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)   l           Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ—Administrative Mandamus                             Abuse
          Other Professional Malpractice               Writ—Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PUPD/VVD Tort (35)                     Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                               Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.            Print this form           Save this form
                                                                                                                                         81
                                                                                                                                         29
                                                                                                                             dear' tIiia form]
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                                                                  ORIGINAL
 SHORT TITLE:   BRYAN HUNT vs. CITY OF LOS ANGELES, et. al.                                                     ""11SICV23052
                                                                                                          CA"



                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION                                                                                          BYfgX
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                This form is required pursuant to Local. Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
             chosen.
                                            Applicable Reasons for Choosing Court Filing Location (Column C)


1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                  10. Location of Labor Commissioner Office.
                                                                                        11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                        non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                             B                                                           C
                     Civil Case Cover Sheet                                             Type of Action                                          Applicable Reasons -
                           Category No.                                                (Check only one)                                          See Step 3 Above

                             auto   (22)            O A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                    1, 4, 11

                     Uninsured Motorist (46)        O A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist               1, 4, 11


                                                    O A6070 Asbestos Property Damage                                                          1, 11
                          Ast estos (04)
                                                    O A7221 Asbestos - Personal Injury/Wrongful Death                                         1, 11


                      Product Liability (24)        O    A7260 Product Liability (not asbestos or toxic/environmental)                        1, 4, 11


                                                    O    A7210 Medical Malpractice - Physicians & Surgeons                                      1, 4, 11
                    Medical Malpractice (45)                                                                                            .     1 4 11
                                                    O    A7240 Other Professional Health Care Malpractice

                                                    O    A7250 PremiSes Liability (e.g., slip and fall)                                       1, 4, 11
                         Other Personal
                         Injury Property            0    A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                              1, 4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                           Death (23)                                                                                                         1, 4, 11
                                                    O A7270 Intentional Infliction of Emotional Distress
                                                                                                                                              1, 4, 11
                                                    O A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                   CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2.3

   For Mandatory Use
                                                      AND STATEMENT OF LOCATION                                                               Page 1 of 4

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                                                                                                                                                           30
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SHORT TITLE:                                                                                                  CASE NUMBER
                           BRYAN HUNT vs. CITY OF LOS ANGELES, et. al.



                                             A                                                      B                                               C Applicable
                                Civil Case Cover Sheet                                         Type of Action                                    Reasons - See Step 3
                                      Category No.                                            (Check only one)                                         Above

                                     Business Tort (07)     O A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1, 2, 3

   rcu                                Civil Rights (08)     0   A6005 Civil Rights/Discrimination                                                1, 2, 3
   • •- =
        w
                                      Defamation (13)       0   A6010 Defamation (slander/libel)                                                 1, 2, 3
  1" CI

   C                rn                   Fraud (16)         O A6013 Fraud (no contract)                                                          1, 2, 3
                     2

   0
   E 71-,                                                   0   A6017 Legal Malpractice                                                          1, 2, 3
    w cr)                   Professional Negligence (25)
   o,_                                                      0   A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
       E
    O                cc
   Z
                                         Other (35)         O A6025 Other Non-Personal Injury/Property Damage tort                               1, 2, 3


                             Wrongful Termination (36)      O A6037 Wrongful Termination                                                         1, 2, 3
       U
       E
       0                                                    El A6024 Other Employment Complaint Case                                             1, 2, 3
       Q                       Other Employment (15)
                                                            O A6109 Labor Commissioner Appeals                                                   10


                                                            0   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                 2 5
                                                                      eviction)
                            Breach of Contract/ Warranty                                                                                         2, 5
                                        (06)                0   A6008 ContractNVarranty Breach -Seiler Plaintiff (no fraud/negligence)
                                  (not insurance)                                                                                                1, 2, 5
                                                            0   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                 1, 2, 5
                                                            O A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                            0   A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                      Collections (09)
                                                            0   A6012 Other Promissory Note/Collections Case                                     5, 11
                                                            0   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                      Purchased on or after January 1, 2014)

                              Insurance Coverage (18)       0   A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                              •,..                          0   A6009 Contractual Fraud                                                          1, 2, 3, 5
                                     Other Contract (37)    o   A6031 Tortious Interference                                                      1, 2, 3, 5
                                                            0   A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                              Eminent Domain/Inverse
                                                            0   A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                                Condemnation (14)

                                Wrongful Eviction (33)      0   A6023 Wrongful Eviction Case                                                     2, 6

                                                            0   A6018 Mortgage Foreclosure                                                       2, 6
                              Other Real Property (26)      0   A6032 Quiet Title                                                                2, 6
                                                            p   A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                            Unlawful Detainer-Commercial
                                                            0   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                        (31)
       Unlawful Detainer




                            Unlawful Detainer-Residential
                                                            0   A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                        (32)
                                  Unlawful Detainer-
                                                            0   A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                                 Post-Foreclosure (34)

                            Unlawful Detainer-Drugs (38)    0   A6022 Unlawful Detainer-Drugs             .                                      2, 6, 11



                                                            CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                               AND STATEMENT OF LOCATION                                                         Page 2 of 4
 For Mandatory Use
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                                                                                                                                                              31
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SHORT TITLE:                                  BRYAN HUNT vs. CITY OF LOS ANGELES, et. al.                                      CASE NUMBER




                                                             A                                                         B                                 C Applicable
                                                  Civil Case Cover Sheet                                         Type of Action                       Reasons - See Step 3
                                                        Category No.                                            (Check only one)                            Above

                                                    Asset Forfeiture (05)        O A6108 Asset Forfeiture Case                                        2, 3, 6

                                                 Petition re Arbitration (11)    O A6115 Petition to Compel/ConfirmNacate Arbitration                 2, 5
           Judicial Review




                                                                                 O A6151 Writ - Administrative Mandamus                               2, 8
                                                    Writ of Mandate (02)         O A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                                                                 O A6153 Writ - Other Limited Court Case Review                       2


                                                 Other Judicial Review (39)      O A6150 Other Writ /Judicial Review                                  2, 8


                                               Antitrust/Trade Regulation (03)   O A6003 Antitrust/Trade Regulation                                   1, 2, 8
           Provisionally Complex Litigation




                                                  Construction Defect (10)       O A6007 Construction Defect                                          1, 2, 3

                                                 Claims Involving Mass Tort                                                                           1, 2, 8
                                                                                 O A6006 Claims Involving Mass Tort
                                                            (40)

                                                  Securities Litigation (28)     O A6035 Securities Litigation Case                                   1, 2, 8

                                                         Toxic Tort
                                                                                 O A6036 Toxic Tort/Environmental                                     1, 2, 3, 8
                                                     Environmental (30)

                                                Insurance Coverage Claims                                                                             1, 2, 5, 8
                                                                                 O A6014 Insurance Coverage/Subrogation (complex case only)
                                                  from Complex Case (41)

                                                                                 O A6141 Sister State Judgment                                        2, 5, 11
                                                                                 O A6160 Abstract of Judgment                                         2, 6
   Enforcement




                                      E                 Enforcement              O A6107 Confession of Judgment (non-domestic relations)              2, 9
                                        CI)
                                                      of Judgment (20)           O   A6140 Administrative Agency Award (not unpaid taxes)             2, 8

                                  0                                              O A6114 PetitionlCertificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                                 O A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                         RICO (27)               O A6033 Racketeering (RICO) Case                                     1, 2, 8
   Miscellaneous




                                                                                 O A6030 Declaratory Relief Only                                      1, 2, 8
                                 0
                                 E                                               O A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                                     Other Complaints
                                                 (Not Specified Above) (42)      O A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8
                                                                                 O A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                                                  Partnership Corporation
                                                                                 O   A6113 Partnership and Corporate Governance Case                  2, 8
                                                     Governance (21)

                                                                                 O A6121 Civil Harassment With Damages                                2, 3, 9
   Miscellaneous
   Civil Petitions




                                                                                 O A6123 Workplace Harassment With Damages                            2, 3, 9
                                                                                 O A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3, 9
                                                     Other Petitions (Not
                                                    Specified Above) (43)        O A6190 Election Contest                                             2
                                                                                 O A6110 Petition for Change of Name/Change of Gender                 2, 7
                                                                                 O A6170 Petition for Relief from Late Claim Law                      2, 3, 8
                                                                                 O A6100 Other Civil Petition                                         2, 9         •




                                                                                 CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                                    AND STATEMENT OF LOCATION                                         Page 3 of 4
 For Mandatory Use
                                                                                                                                                                   84
                                                                                                                                                                   32
     Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 33 of 54 Page ID #:33



 SHORT TITLE:                                                                        CASE NUMBER
                BRYAN HUNT vs. CITY OF LOS ANGELES, et. al.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:                                                                          500 West Temple St. Room 383
                                                                                        Los Angeles, CA 90012
    D1.O2.23.O4.O5.O6.O7. O8.O 9.O10.211.



   CITY:                                  STATE:     ZIP CODE:


   Los Angeles                            CA         90012

Step 5: Certification of Assignment: I certify that this case is properly filed in the Stanley Mosk Courthouse          District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: June 16, 2021                                                                        e/tc„LA,
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.

       2. If filing a Complaint, a completed Summons form fcr issuance by the Clerk.

       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in :ull of the filing fee, unless there is court order for waiver, partial or scheduled payments.

       6. A signed orter appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

        7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
           must be served along with the summons and complaint, or other initiating pleading in the case.




                                         CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                            AND STATEMENT OF LOCATION                                                   Page 4 of 4
  For Mandatory Use
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 34 of 54 Page ID #:34




     EXHIBIT B




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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 35 of 54 Page ID #:35




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 6                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7                           FOR THE COUNTY OF LOS ANGELES
 8
      BRYAN HUNT, individually, and on behalf of all        Case No.: 21STCV23052
 9'
      others similarly situated,
10
                                                            INITIAL STATUS CONFERENCE
11                                    Plaintiff(s),         ORDER
12          vs.
                                                            (COMPLEX LITIGATION
13                                                          PROGRAM)
      CITY OF LOS ANGELES, a municipal entity;
      COUNTY OF LOS ANGELES, a public entity;
14                                                          Case Assigned for All purposes to
      DOES 1 through 100, inclusive,
15                                                          Judge Elihu M. Berle
                                      Defendant(s).
16
                                                            Department 6
17                                                          Date: August 19, 2021
                                                            Time: 1:30 a.m.
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              INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 36 of 54 Page ID #:36




 1          This case has been assigned for all purposes to Judge Elihu M. Berle in the
 2   Complex Litigation Program. An Initial Status Conference is set f0r August 19, 2021, at
 3   1:30 a.m. in Department 6 located in the Los Angeles Superior Courts at United States
 4   Courthouse at 312 N. Spring Street, Los Angeles, California 90012.
 5          Counsel for all parties are ordered to attend the Initial Status Conference remotely
 6   via LA COURT CONNECT. The attorney portal can be found on the Court's website at
 7   lacourt.org. NO PERSONAL APPERANCES WILL BE ALLOWED, unless special
 8   permission is granted upon appropriate application.
 9          Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order
10   on all parties, within five (5) days of service of this order. If any defendant has not yet
11   been served in this action, service is to be completed within twenty (20) days of the date of
12   this order.
13          The Court orders counsel to prepare for the Initial Status Conference by identifying
14   and discussing the central legal and factual issues in the case. Counsel for plaintiff is
15   ordered to initiate contact with counsel for defense to begin this process. Counsel then
16   must negotiate and agree, as possible, on a case management plan.
17          Counsel must file a Joint Initial Status Conference Statement seven (7) calendar
18   days before the Initial Status Conference. The Joint Initial Status Conference Statement
19   must be filed on line-numbered pleading paper and must specifically address each of the
20   below numbered items. Do not use the Judicial Council Form CM-110 (Case Management
21   Statement).
22          1. PARTIES AND COUNSEL: Please list all presently named plaintiffs
23             and/or class representatives and presently named defendants, together with all
24             counsel of record, including counsel's contact and email information.
25          2. ELECTRONIC SERVICE OF PAPERS: for administrative efficiency
26                 and conservation of resource for the parties and court, the complex program
27             requires the parties in every new case to use a third-party cloud service, such as:
28                 ■ Case Anywhere (www.caseanywhere.com),


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              INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 37 of 54 Page ID #:37




 1              ■ CaseHomePage (www.casehomepage,com), or
 2              ■ File&ServeXpress (www.lexisnexis.corn/fileandserve).
 3             The parties are to select one of these vendors and submit the parties' choice
 4             when filing the Joint Initial Status Conference Statement. If the parties cannot
 5             agree, the court will select the vendor at the Initial Status Conference.
 6             Electronic service is not the same as electronic filing. Only traditional methods
 7             of filing by physical delivery of original papers or by fax filing are presently
 8             available.
 9          3. CLAIMS AND DEFENSES: Set forth a brief description of the core factual
10   and legal issues, derived from Plaintiff's claims and defendant's defenses.
11         4. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently
12   intend to add more plaintiffs and/or class representatives? If so, and if known, by what
13   date and by what name will these parties be identified? Does any plaintiff presently intend
14   to name more defendants? If so, and if known, by what date and by what name will these
15   defendants be identified? Does any appearing defendant presently intend to file a cross-
16   complaint? If so, who will be named as a cross-defendant?
17         5. IMPROPERLY NAMED DEFENDANT(S): Does any party contend that
18   the complaint names the wrong person or entity, please explain.
19         6. (For class actions) ADEQUACY OF PROPOSED CLASS
20   REPRESENTATIVE(S): Does any party contend one or more named plaintiffs might
21   not be an adequate class representative. If so, please explain.
22         7. (For class actions) FOR CLASS ACTIONS ESTIMATED SIZE: What is
23   the estimated size of the putative class?
24          8. (For class actions) OTHER ACTIONS WITH OVERLAPPING CLASS
25   DEFINITIONS: Are there other cases with overlapping class definitions? If so, please
26   identify the court, the short caption title, the docket number, and the case status.
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              INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 38 of 54 Page ID #:38




 1          9. ARBITRATION AGREEMENTS AND/OR CLASS ACTION
 2   WAIVER CLAUSES: Does any party contend there is an arbitration agreement and/or
 3   class action waiver. If so, please discuss.
 4          10. POTENTIAL EARLY CRUCIAL MOTIONS: Are there any issues that
 5   can be identified and resolved early. If so, please identify and set forth proposed
 6   procedures for resolution.
 7          PLEASE NOTE: By stipulation a party may move for summary adjudication
 8   of a legal issues or a claim for damages that does not completely dispose of a cause of
 9   action, an affirmative defense, or an issue of duty. (C.C.P. § 437c(t)).
10          11. PROTECTIVE ORDERS: Parties considering an order to protect
11   confidential information from general disclosure should consider the model protective
12   orders found on the Los Angeles Superior Court Website under "Civil Tools for
13   Litigators."
14          12. DISCOVERY: Counsel are to discuss a plan of discovery. In class actions,
15   prior to class certification, the court generally allows discovery on matters relevant to class
16   certification, which depending on circumstances, sometimes may include some factual
17   issues also touching the merits.
18          13. INSURANCE COVERAGE: Please state (1) if there is insurance for
19   indemnity or reimbursement, and (2) whether there are any insurance coverage issues •
20   which might affect settlement.
21          14. ALTERNATIVE DISPUTE RESOLUTION:                          Counsel are requested to

22   discuss ADR and proposed neutrals to conduct such proceedings.
23          15. TIMELINE FOR CASE MANAGEMENT: Counsel to propose future
24   dates for:
25          ■     The next status conference,
26          ■     A schedule for alternative dispute resolution,
27          ■     A filing deadline for the motion for class certification, and
28          ■     Filing deadlines and descriptions for other anticipated non-discovery motions.


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                INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 39 of 54 Page ID #:39




 1            PENDING FURTHER ORDERS OF THIS COURT, and except as otherwise
 2   provided in this Initial Status Conference Order, these proceedings are staved, except for
 3   service of summons and complaint and filing of Notice of Appearance. This stay shall
 4   preclude the filing of any answer, demurrer, motion to strike, or motions challenging the
 5   jurisdiction of the Court. Any defendant may file a Notice of Appearance for, purposes of
 6   identification of counsel and preparation of a service list. The filing such a Notice of
 7   Appearance shall be without prejudice to any challenge to the jurisdiction of the Court,
 8   substantive or procedural challenges to the Complaint, any affirmative defense, and the
 9   filing of any cross-complaint in this action. This stay is issued to assist the Court and the
10   parties in managing this "complex" case. Although the stay applied to discovery, this stay
11   shall not preclude the parties from informally exchanging documents that may assist in
12   their initial evaluation of the issues presented in this case.
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               AIL 1 5'2021
19   Dated:
                                              HON. ELIHU M. BERLE
20
                                          JUDGE OF THE SUPERIOR COURT
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               INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)
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     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                            Civil Division
                      Central District, Spring Street Courthouse, Department 6

  21STCV23052                                                                           July 15, 2021
  BRYAN HUNT vs CITY OF LOS ANGELES, et al.                                                  2:07 PM


  Judge: Honorable Elihu M. Berle                    CSR: None
  Judicial Assistant: M. Fregoso                     ERM: None
  Courtroom Assistant: D. McKinney                   Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order Re Initial Status Conference

  By this order, the Court determines this case to be Complex according to Rule 3.400 of the
  California Rules of Court. The Clerk's Office has randomly assigned this case to this department
  for all purposes.

  By this order, the Court stays the case, except for service of the Summons and Complaint. The
  stay continues at least until the Initial Status Conference. Initial Status Conference is set for
  08/19/2021 at 01:30 PM in this department. At least 10 days prior to the Initial Status
  Conference, counsel for all parties must discuss the issues set forth in the Initial Status
  Conference Order issued this date. The Initial Status Conference Order is to help the Court and
  the parties manage this complex case by developing an orderly schedule for briefing, discovery,
  and court hearings. The parties are informally encouraged to exchange documents and
  information as may be useful for case evaluation.

  Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
  of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
  Appearance shall not constitute a waiver of any substantive or procedural challenge to the
  Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
  Code of Civil Procedure Section 170.6.

  Counsel are directed to access the following link for information on procedures in the Complex
  litigation Program courtrooms: http://www.lacourt.org/division/civil/CI0037.aspx

  Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
  thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
  fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
  or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
  dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
                                             Minute Order                                 Page 1 of 2


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     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 6

  21STCV23052                                                                         July 15, 2021
  BRYAN HUNT vs CITY OF LOS ANGELES, et al.                                                2:07 PM


  Judge: Honorable Elihu M. Berle                   CSR: None
  Judicial Assistant: M. Fregoso                    ERM: None
  Courtroom Assistant: D. McKinney                  Deputy Sheriff: None

  All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days of service of
  this order.

  The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
  Order on all parties forthwith and file a Proof of Service in this department within 7 days of
  service.

  PARTIES SHALL FILE A JOINT INITIAL STATUS CONFERENCE REPORT 7 DAYS
  PRIOR TO THE INITIAL STATUS CONFERENCE.

  Certificate of Mailing is attached.




                                            Minute Order                                 Page 2 of 2


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                                                                                            Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                                      FILED
                                                                                           Superbr Court of Catifornia
Spring Street Courthouse                                                                     County of Los Angeles
312 North Spring Street, Los Angeles, CA 90012
                                                                                                    07/15..2021
PLAINTIFF/PETITIONER:                                                       r2.5-1,..r,-    Co7-7.1- , Exec,J-::•h-e   CC7'1, a you
Bryan Hunt                                                                      E'v:                   M. Fregoso

DEFENDANT/RESPONDENT:
City of Los Angeles et al
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV23052

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order Re Initial Status
Conference) of 07/15/2021, Initial Status Conference Order upon each party or counsel named below by
placing the document for collection and mailing so as to cause it to be deposited in the United States mail
at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate
sealed envelope to each address as shown below with the postage thereon fully prepaid, in accordance
with standard court practices.




    Charles Mele Ray
    Ray & Seyb, LLP
    17671 Irvine Blvd
    Suite 208
    Tustin, CA 92780




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 07/15/2021                                    By:   M. Fregoso
                                                           Deputy Clerk




                                     CERTIFICATE OF MAILING
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      Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 43 of 54 Page ID #:43 57(


                                                                ORDINAL
       1   RAY & SEYB,LLP                                                                  RLE
           CHARLES M. RAY,SBN 282440                                             Superior Court of California
                                                                                   County of Los Angeles
      2    SPENCER SEYB,ESQ. SBN 282501
           17671 Irvine Blvd
      3    Suite 208                                                                   JUL 19 2021
           Tustin, CA 92780                                                Sherri R. Carter, Executive 0fficeriCierkoi Court
      4    Telephone: 949-274-7535                                                                                 Deputy
                                                                            By          S. DREW
           Facsimile: 949-274-8151
       5   s.seyb@rayseyb.com
      6    Attorney for Plaintiffs
       7                            SUPERIOR COURT FOR THE STATE OF CALIFORNIA
      8                                       COUNTY OF LOS ANGELES
      9
           BRYAN HUNT, individually, and on behalf         Case No.:21STCV23052
      10   of all others similarly situated,               [Before the Hon. Elihu M. Berle)
      11
                      Plaintiffs,
      13                                                   PROOF OF SERVICE
           VS.
      14                                                                                                                    CO
           CITY OF LOS ANGELES, a municipal
      15
           entity; COUNTY OF LOS ANGELES, a                                                                                 -n
      16   public entity; DOES 1 through 100, inclusive,

      17              Defendants.
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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 44 of 54 Page ID #:44




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          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                               Civil Division
                           Central District, Spring.Street Courthouse, Department 6

       21STCV23052                                                                           July 15, 2021
       BRYAN HUNT vs CITY OF LOS ANGELES, et al.                                                  2:07 PM


       Judge: Honorable Elihu M. Berle                    CSR: None
       Judicial. Assistant: M. Fregoso                    ER.M: None
       Courtroom Assistant: D. McKinney                   Deputy Sheriff: None

        APPEARANCES:
        For Plaintiff(s): No Appearances
        For Defendant(s): No Appearances




        NATURE OF PROCEEDINGS: Court Order. Re Initial Status Conference

        By this order, the Court determines this case to be Complex according to Rule 3.400 of the
        California Rules of Court. The Clerk's Office has randomly assigned this case to this d'epartment
        for all purposes.

        By this order, the Court stays the case, except for service of the Summons and Complaint. The
        stay continues at least until the Initial Status Conference. Initial Status Conference is set for
        08/19/2021 at 01:30 PM in this department. At least 10 days prior to the Initial Status
        Conference, counsel for all parties must discuss the issues set forth in the Initial. Status
        Conference Order issued this date. The Initial Status Conference Order is to help the Court and
        the parties manage this complex case by developing an orderly schedule for briefing, discovery,
        and court hearings. The parties are informally encouraged to exchange documents and
        information as may be useful for case evaluation.

        Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
        of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
        Appearance shall not constitute a waiver of any. substantive or procedural challenge to the
        Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
        Code of Civil Procedure Section 170.6.

        Counsel are directed to access the following link for information on procedures in the Complex
        litigation Program courtrooms: http://www.lacourt.org/division/civil/C10037.aspx

        Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
        thousand dollars (51,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
        fee of one thousand dollars ($1,000.00) must.be paid for each defendant, inte.rvenor, respondent
        or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
        dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
                                                   Minute Order                                 Page 1 of 2




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      SUPERIOR COURT OF CALIFORNIA., COUNTY OF LOS ANGELES
                           Civil DiVision
                        Central District, Spring•Street Courthouse, Department 6

    21STCV23052                                                                         July 15, 2021
    BRYAN HUNT vs CITY OF LOS ANGELES, et al.                                                2:07 PM


    Judge: Honorable Elihu M. Berle                   CSR: None
    Judicial. Assistant: M. Fregoso                   ERM: None
    Courtroom Assistant: D. McKinney                  Deputy Sheriff: None

    All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days of service of
    this order.

    The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
    Order on all parties forthwith and file a Proof of Service in this department within 7 days of
    service.

    PARTIES SHALL FILE A JOINT INITIAL STATUS CONFERENCE REPORT 7 DAYS
    PRIOR TO THE INITIAL STATUS CONFERENCE.

    Certificate of Mailing is attached.




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                                                Minute Order                                Page 2 of 2



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Case 2:21-cv-06059-PA-RAO Document 1 Filed 07/27/21 Page 47 of 54 Page ID #:47




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                                                             harri R. Carter, Executive
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   4                                                            Sy Markets %mei,
                                                                                          Deputy
   5
   6                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
   7                           FOR THE COUNTY OF LOS ANGELES
   8
        BRYAN HUNT, individually, and on behalf of all   Case No.: 21STCV23052
   9
        others similarly situated,
  10
                                                         INITIAL STATUS CONFERENCE
  11
                                        Plaintiff(s),    ORDER
  12          vs.
                                                         (COMPLEX LITIGATION
  13    CITY OF LOS ANGELES, a municipal entity;         PROGRAM)
        COUNTY OF LOS ANGELES, a public entity;
  14    DOES 1 through 100, inclusive,                   Case Assigned for All purposes to
  15                                                     Judge Elihu M. Berle
                                         Defendant(s).
  16
                                                         Department 6
  17                                                     Date: August 19, 2021
                                                         Time: 1:30 a.m.
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                    INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)

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   1          This case has been assigned for all purposes to Judge Elihu M. Berle in the
   2    Complex Litigation Program. An Initial Status Conference is set for August 19, 2021, at
   3    1:30 a.m. in Department 6 located in the Los Angeles Superior Courts at United States
   4    Courthouse at 312 N. Spring Street, Los Angeles, California 90012.
   5          Counsel for all parties are ordered to attend the Initial Status Conference remotely
   6    via LA COURT CONNECT. The attorney portal can be found on the Court's website at
   7    lacourt.org. NO PERSONAL APPERANCES WILL BE ALLOWED, unless special
   8    permission is granted upon appropriate application.
   9           Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order
  10    on all parties, within five (5) days of service of this order. If any defendant has not yet
  11    been served in this action, service is to be completed within twenty (20) days of the date of
  12    this order.
  13           The Court orders counsel to prepare for the Initial Status Conference by identifying
  14    and discussing the central legal and factual issues in the case. Counsel for plaintiff is
  15    ordered to initiate contact with counsel for defense to begin this process. Counsel then
  16    must negotiate and agree, as possible, on a case management plan.
  17           Counsel must file a Joint Initial Status Conference Statement seven (7) calendar
  18    days before the Initial Status Conference. The Joint Initial Status Conference Statement
  19    must be filed on line-numbered pleading paper and must specifically address each of the
  20    below numbered items. Do not use the Judicial Council Form CM-110 (Case Management
  21    Statement).
  22           1. PARTIES AND COUNSEL: Please list all presently named plaintiffs
   23                 and/or class representatives and presently named defendants, together with all
   24                 counsel of record, including counsel's contact and email information.
   25          2. ELECTRONIC SERVICE OF PAPERS: for administrative efficiency
   26                 and conservation of resource for the parties and court, the complex program
   27                 requires the parties in every new case to use a third-party cloud service, such as:
   28                 ■ Case Anywhere (www.caseanvwhere.com),


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          1              • CaseHomePage (www.casehomepage,com), or
          2              • File&ServeXpress (www.lexisnexis.com/fileandserve).
          3              The parties are to select one of these vendors and submit the parties' choice
          4              when filing the Joint Initial Status Conference Statement. If the parties cannot
          5              agree, the court will select the vendor at the Initial Status Conference.
          6              Electronic service is not the same as electronic filing. Only traditional methods
          7              of filing by physical delivery of original papers or by fax filing are presently
                         available.
          9          3. CLAIMS AND DEFENSES: Set forth a brief description of the core factual
          10   and legal issues, derived from Plaintiff's claims and defendant's defenses.
          11         4. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently
          12   intend to add more plaintiffs and/or class representatives? If so, and if known, by what
          13   date and by what name will these parties be identified? Does any plaintiff presently intend
          14   to name more defendants? If so, and if known, by what date and by what name will these
          15   defendants be identified? Does any appearing defendant presently intend to file a cross-
          16   complaint? If so, who will be named as a cross-defendant?
          17         5. IMPROPERLY NAMED DEFENDANT(S): Does any party contend that
          18   the complaint names the wrong person or entity, please explain.
          19         6. (For class actions) ADEQUACY OF PROPOSED CLASS
          20   REPRESENTATIVE(S): Does any party contend one or more named plaintiffs might
          21   not be an adequate class representative. If so, please explain.
          22          7. (For class actions) FOR CLASS ACTIONS ESTIMATED SIZE: What is
as
          23   the estimated size of the putative class?
          24          8. (For class actions) OTHER ACTIONS WITH OVERLAPPING CLASS
ht.?
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t .?
          25   DEFINITIONS: Are there other cases with overlapping class definitions? If so, please
          26   identify the court, the short caption title, the docket number, and the case status.
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                        INITIAL STATUS CONFERENCE ORDER (COMPLEX LITIGATION PROGRAM)

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   1           9. ARBITRATION AGREEMENTS AND/OR CLASS ACTION
   2    WAIVER CLAUSES: Does any party contend there is an arbitration agreement and/or
   3    class action waiver. If so, please discuss.
   4          10. POTENTIAL EARLY CRUCIAL MOTIONS: Are there any issues that
   5    can rii! identified and resolved early. If so, please identify and set forth propose'
   6    pro,erdures for resolution.
   7           PLEASE NOTE: By stipulation a party may move for summary adjudication
   8    of a legal issues or a claim for damages that does not completely dispose of a cause of
   9    action, an affirmative defense, or an issue of duty. (C.C.P. § 437c(t)).
  10           11. PROTECTIVE ORDERS: Parties considering an order to protect
  11    confidential information from general disclosure should consider the model protective
  12    orders found on the Los Angeles Superior Court Website under "Civil Tools for
  13    Litigators."
  14           12. DISCOVERY: Counsel are to discuss a plan of discovery. In class actions,
  15    prior to class certification, the court generally allows discovery on matters relevant to class
  16    certification, which depending on circumstances, sometimes may include some factual
  17    issues also touching the merits.
   18          13. INSURANCE COVERAGE: Please state (1) if there is insurance for
  19    indemnity or reimbursement, and (2) whether there are any insurance coverage issues
  20    which might affect settlement.
  21           14. ALTERNATIVE DISPUTE RESOLUTION: Counsel are requested to
   22   discuss ADR and proposed neutrals to conduct such proceedings.
   23          15. TIMELINE FOR CASE MANAGEMENT: Counsel to propose future
   24   dates for:
   25           ■    The next status conference,
   26           ■    A schedule for alternative dispute resolution,
   27           ■    A filing deadline for the motion for class certification, and
   28           ■    Filing deadlines and descriptions for other anticipated non-discovery motions.


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   1          PENDING FURTHER ORDERS OF THIS COURT, and except as otherwise
   2    provided in this Initial Status Conference Order, these proceedings are staved, except for
   3    service of summons and complaint and filing of Notice of Appearance. This stay shall
   4    preclude the filing of any answer, demurrer, motion to strike, or motions challenging the
   5    jurisdiction of the Court. Any defendant may file a Notice of Appearance for purposes of
   6    identification of counsel and preparation of a service list. The filing such a Notice of
   7    Appearance shall be without prejudice to any challenge to the jurisdiction of the Court,
   8    substantive or procedural challenges to the Complaint, any affirmative defense, and the
   9    filing of any cross-complaint in this action. This stay is issued to assist the Court and the
   10   parties in managing this "complex" case. Although the stay applied to discovery, this stay
   11   shall not preclude the parties from informally exchanging documents that may assist in
   12   their initial evaluation of the issues presented in this case.
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                                                         ELIHU M. BERLE
   18

   19   Dated:       JUL 1 5 2021
                                                 HON. ELIHU M. BERLE
   20
                                             JUDGE OF THE SUPERIOR COURT
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                                           PROOF OF SERVICE

 1 STATE OF CALIFORNIA, COUNTY OF ORANGE
 2    I certify and declare as follows:

 3            I am employed in the County of Orange, State of California. I am over the age of 18 and
      not a party to the within action; my business address is 17671 Irvine Blvd. Ste. 208, Tustin, CA
 4 92780.
 5           On July 19, 2021, I served:

 6                   Los Angeles County Court's Initial Status Conference Notice.

 7    on the party(ies) of record by mailing a copy of these documents was dispatched on this date
      below.
 8
 9            County of Los Angeles                                     Named Defendant
         500 West Temple St., Room 383 Los
10              Angeles, CA 90012

11
12           I declare under penalty of perjury under the laws of the State of California that the

13    foregoing is true and correct.

14    DATED: July 19, 2021                                 By:     /s/ Charles M. Ray

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                                             PROOF OF SERVICE


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                                            1                                        PROOF OF SERVICE

                                            2                    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                            3          I am employed in the County of LOS ANGELES, State of California. I am over the age

                                            4   of 18 and not a party to the within action; my business address is: 6033 West Century

                                            5   Boulevard, 5th Floor, Los Angeles, California 90045.

                                            6          On July 27, 2021, I served the foregoing document(s) described as NOTICE OF

                                            7   REMOVAL OF ACTION UNDER 28 U.S.C. 1441(A) FEDERAL QUESTION) in the

                                            8   manner checked below on all interested parties in this action addressed as follows:

                                            9
                                                Charles M. Ray
                                           10   Spencer Seyb
                                                RAY & SEYB, LLP
                                           11
                                                17671 Irvine Blvd., Ste. 208
6033 West Century Boulevard, 5th Floor




                                           12   Tustin, CA 92780
   A Professional Law Corporation

    Los Angeles, California 90045




                                                Telephone: 949.274.7535
      Liebert Cassidy Whitmore




                                           13   Facsimile: 949.274.8151
                                                Email: c.ray@rayseyb.com
                                           14
                                                        (BY U.S. MAIL) I am “readily familiar” with the firm’s practice of collection and
                                           15            processing correspondence for mailing. Under that practice it would be deposited with
                                                         the U.S. Postal Service on that same day with postage thereon fully prepaid at Los
                                           16            Angeles, California, in the ordinary course of business. I am aware that on motion of
                                                         the party served, service is presumed invalid if postal cancellation date or postage
                                           17            meter date is more than one day after date of deposit for mailing in affidavit.
                                           18           (BY ELECTRONIC SERVICE) By electronically mailing a true and correct copy
                                                         through Liebert Cassidy Whitmore’s electronic mail system from jsteer@lcwlegal.com
                                           19            to the email address(es) set forth above. I did not receive, within a reasonable time
                                                         after the transmission, any electronic message or other indication that the transmission
                                           20            was unsuccessful.
                                           21           (BY ELECTRONIC SERVICE PROVIDER) I am readily familiar with the firm’s
                                                         practice for filing electronically. Through use of True Filing, an electronic service
                                           22            provider, I arranged a true and correct copy of the above-reference documents to be
                                                         electronically served to the e-mail address(es) registered with the court this day in the
                                           23            ordinary course of business following ordinary business practices.
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                                            1          Executed on July 27, 2021, at Los Angeles, California.

                                            2          I declare under penalty of perjury under the laws of the State of California that the

                                            3   foregoing is true and correct.

                                            4

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                                                                                              /s/ June Steer
                                            7                                                 June Steer
                                            8

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                                           10

                                           11
6033 West Century Boulevard, 5th Floor




                                           12
   A Professional Law Corporation

    Los Angeles, California 90045
      Liebert Cassidy Whitmore




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